     Case 2:22-cv-00662-JCM-VCF Document 11 Filed 06/24/22 Page 1 of 2




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 6
                                  UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
 8
 9   GREGORY WALTER NORRIS, an individual;               Case No.: 2:22-cv-00662-JCM-VCF
10   and JACQUELINE COLETTE NORRIS, an
     individual,                                         STIPULATION AND ORDER TO
11                                                       EXTEND DEFENDANT PLANET
                    Plaintiffs,                          HOME LENDING, LLC’S DEADLINE
12                                                       TO RESPOND TO THE COMPLAINT
13          vs.

14   PLANET HOME LENDING, LLC, a Foreign
     Limited-Liability Company; EQUIFAX
15   INFORMATION SERVICES LLC, a Foreign
16   Limited-Liability Company; EXPERIAN
     INFORMATION SOLUTIONS, INC., a
17   Foreign Corporation; and TRANS UNION
     LLC, a Foreign Limited-Liability Company,
18
19                  Defendants.

20          Plaintiffs Gregory Walter Norris and Jacqueline Colette Norris (collectively “Plaintiffs”)

21   and Defendant Planet Home Lending, LLC (“PHL”), by and through their counsel of record,

22   hereby stipulate and agree as follows:

23          WHEREAS, on April 21, 2022, Plaintiffs filed a Complaint against PHL. ECF No. 1.

24          WHEREAS, Plaintiffs sent a request for waiver of service to PHL on April 22, 2022, which

25   PHL executed and the deadline for PHL to file a response to the Complaint is currently set for June

26   22, 2022.

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                                                Page 1 of 2
     Case 2:22-cv-00662-JCM-VCF Document 11 Filed 06/24/22 Page 2 of 2




 1           WHEREAS, Plaintiffs and PHL are attempting to reach a resolution in lieu of proceeding
 2   with the litigation and agree that an extension of the time for PHL to respond to the Complaint

 3   will assist that parties in focusing on early resolution.
 4           WHEREFORE, based on the foregoing,
 5   IT IS HEREBY STIPULATED AND AGREED that the deadline for PHL to file a response to the
 6   Complaint is extended to July 29, 2022.
 7           IT IS SO STIPULATED.
 8   DATED this 22nd day of June, 2022.              DATED this 22nd day of June, 2022.
 9
     WRIGHT, FINLAY & ZAK, LLP                               COGBURN LAW
10
     /s/ Christina V. Miller, Esq.                           /s/ Erik W. Fox, Esq.
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14   Lending, LLC                                            Norris and Jacqueline Colette Norris
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16
17           IT IS SO ORDERED.
18                    June 24, 2022
             DATED: _________________________
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21                                                           __________________________________
                                                             UNITED STATES MAGISTRATE JUDGE
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